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            USCA11 Case: 22-13018 Date Filed: 09/12/2022 Page: 1 of 2


                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                         September 12, 2022

Sydney Rene Strickland
Strickland Webster, LLC
830 GLENWOOD AVE SE STE 510 #203
ATLANTA, GA 30179

Appeal Number: 22-13018-J
Case Style: USA v. Allen Pendergrass
District Court Docket No: 1:17-cr-00224-AT-CMS-1

Party To Be Represented: Allen J. Pendergrass

Dear Counsel:

You have been appointed to represent the above-named individual on appeal pursuant to the
Criminal Justice Act (CJA), 18 U.S.C. § 3006A. The compensation you will receive will be
based on the provisions of the CJA, Volume 7 of the Guide to Judiciary Policy, and the factors
in Addendum Four § (g)(1) of the Eleventh Circuit Rules.

Information, documentation, and a link to the CJA eVoucher application are available at
http://www.ca11.uscourts.gov/attorney-info/criminal-justice-act. For questions concerning
eVoucher please contact the Clerk's Office CJA Team at cja_evoucher@ca11.uscourts.gov or
404-335-6167. For all other questions, please call the "Reply To" number shown below.

Your claim for compensation under the CJA should be submitted no later than 60 days after
issuance of the mandate or the filing of a petition for a writ of certiorari, whichever is later.
When you submit your voucher, include a description of the services you provided and upload
in eVoucher each brief, petition for rehearing, and certiorari petition you filed on behalf of your
client.

Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
11th Cir. R. 26.1-1. In addition:

      x    Appellants/Petitioners must file a CIP within 14 days after this letter's date.
      x    Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after
           this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
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         USCA11 Case: 22-13018 Date Filed: 09/12/2022 Page: 2 of 2



   x   Only parties represented by counsel must complete the web-based CIP. Counsel must
       complete the web-based CIP, through the Web-Based CIP link on the Court's website,
       on the same day the CIP is first filed.

The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the
case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
sanctions on counsel, the party, or both. See 11th Cir. R. 26.1-5(c).



Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Davina C Burney-Smith, J / cb
Phone #: (404) 335-6183

                                                         CJA-1 Appointment of Counsel Letter
